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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                              Case No. 19-62322-CIV-WILLIAMS

  ALAN REDDISH,

          Plaintiff,

  vs.

  AVRAHAM OVADIA, et al.,

          Defendants.
                                     /

                                           ORDER

          THIS MATTER is before the Court on Magistrate Judge Alicia O. Valle’s Report

  and Recommendation (“Report”) on Defendants’ motion to dismiss. (DE 21). In the

  Report, Judge Valle recommends that Defendants’ motion to dismiss be GRANTED only

  as to his claims regarding third-party noncompliance and DENIED in all other respects.

  In addition, Judge Valle recommends that Plaintiff should be allowed leave to replead his

  allegations regarding third-party websites.    No objections to the report were filed.

  Accordingly, upon an independent review of the Report, the record, and applicable case

  law, it is ORDERED AND ADJUDGED as follows:

          1.      Judge Valle’s Report (DE 21) is AFFIRMED AND ADOPTED.

          2.      Defendants’ motion to dismiss (DE 8) is GRANTED IN PART AND DENIED
                  IN PART.

          3.      Plaintiff may file an amended complaint by September 11, 2020 that
                  amends his pleadings regarding third-party noncompliance.

          DONE AND ORDERED in chambers in Miami, Florida this 28th day of August,
  2020.
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